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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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IN RE:                                                          :
                                                                :
OPENAI, INC.,                                                   :      25-md-3143 (SHS) (OTW)
COPYRIGHT INFRINGEMENT LITIGATION,                              :
                                                                :
                                                                :      ORDER
This Document Relates To:                                       :
All Actions                                                     :
                                                                :
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         ONA T. WANG, United States Magistrate Judge:

         The Court held a discovery status conference for all actions in this matter on Tuesday,

May 27, 2025. As ORDERED at the May 27 Conference: 1

            I.     ALL ACTIONS

              1) The parties are directed to submit a proposed omnibus protective order by the

                   close of business on June 6, 2025. The parties should begin cross production

                   under the existing protective orders in these cases by Friday, May 30, 2025.

              2) The parties are directed to include a new joint proposed discovery schedule, or,

                   if the parties cannot agree, separate proposed discovery schedules, in the

                   parties’ proposed case schedule as directed by Judge Stein by June 17, 2025.

              3) The parties are directed to meet and confer and file a joint proposed deposition

                   protocol by June 6, 2025. If the parties cannot agree on a joint deposition

                   protocol, they are directed to file their respective proposals and supporting

                   briefs of no more than 2 pages by June 6, 2025.


1
 The Court held a separate conference in the afternoon to address OpenAI’s preservation of output log data,
which will be addressed in a separate order.
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             4) The Court will hold a discovery status conference on June 25, 2025, at 9:30 a.m.

                 in Courtroom 20D, 500 Pearl Street, New York, NY 10007. The parties may

                 submit discovery motions for any ripe disputes ahead of the June 25 conference

                 between June 9, 2025, and June 13, 2025. The parties’ joint dispute charts for

                 the June 25 conference is due by June 17, 2025.

             5) The Court will hold a discovery status conference on August 12, 2025, at 9:30

                 a.m. in Courtroom 20D, 500 Pearl Street, New York, NY 10007. The parties may

                 submit discovery motions for any ripe disputes ahead of the August 12

                 conference between July 28, 2025, and August 4, 2025. The parties’ joint dispute

                 charts for the August 12 conference is due by August 4, 2025. 2

             6) The parties are reminded that the Court will only address disputes that are ripe

                 for dispute and where the parties have fully engaged in the meet and confer

                 process as required by my Individual Practices. If it is clear on the face of the

                 papers or becomes clear at future conferences that the parties have not fully

                 met and conferred in a good faith attempt to resolve the dispute, the Court may

                 deny any such motion outright. “Disputes” on which the parties are actively

                 meeting and conferring need not be included in the parties’ joint dispute charts.

             7) The parties are directed to submit the following proposed stipulated omnibus

                 protocols, or, in the alternative, competing proposals, by June 6, 2025: (a)

                 electronically stored information; (b) training data inspection; (c) source code

                 inspection.


2
 As the Court explained to the parties at the May 27 conference, the parties’ dispute charts should not exceed 1-2
short paragraphs that summarize the parties’ arguments in the briefings.

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              8) The Court will hold an in-person “technology tutorial” on June 26, 2025, at 10:00

                  a.m. in Judge Stein’s Courtroom, 23A, 500 Pearl Street, New York, NY 10007.

           II.    CLASS ACTION CASES 3

         For the reasons discussed on the record:

              1) Because the parties represented at the May 27 conference that they had

                  resolved the dispute regarding cross-production of documents for custodians

                  Michael Lampe, Brad Lightcap, and Wojciech Zaremba, ECF Nos. 344 and 345 in

                  Case No. 23-CV-8292 are DENIED as moot.

              2) Class Plaintiffs’ motion at 23-CV-8292 ECF 346 regarding Microsoft’s response to

                  interrogatory number 8 is DENIED without prejudice to renewal. Microsoft is

                  directed to provide Class Plaintiffs, to the extent they have not already, hit

                  counts by custodian for interrogatory number 8. The parties are further directed

                  to meet and confer on this issue.

              3) OpenAI’s motion at 23-CV-8292 ECF 348 is DENIED without prejudice to

                  renewal. The Class Plaintiffs are directed to identify responsive documents

                  already produced regarding publishing and licensing agreements and marketing

                  and revenue statements in response to OpenAI’s harm-related interrogatory.

                  Class Plaintiffs should identify the responsive documents by Bates numbers,

                  Bates ranges, and/or custodians.



3
  The Class Action Cases include the following putative class actions: Tremblay, et al. v. OpenAI, Inc., et al., 25-CV-
3482 (including the consolidated cases Silverman, et al. v. OpenAI, Inc., et al., 25-CV-3483 and Chabon, et al. v.
OpenAI, Inc., et al., 25-CV-3291); and Authors Guild, et al. v. OpenAI, Inc., et al., 23-CV-8292 (including the
consolidated case Alter, et al. v. OpenAI, Inc., et al., 23-CV-10211). Separately, Basbanes, et al. v. Microsoft
Corporation, et al., 24-CV-84 and Millette v. OpenAI, Inc., et al., 25-cv-3297 have been stayed pending a ruling on
class certification or summary judgment in the consolidated class action.

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     4) The Class Plaintiffs’ motions at 23-CV-8292 ECF 349/351 and 23-CV-3223 (N.D.

        Cal.) ECF 400 regarding OpenAI’s privilege assertions and privilege clawbacks are

        DENIED as premature. OpenAI is directed to revise their privilege log entries for:

        (1) the 11 entries identified by Class Plaintiffs for Mr. Nace and Mr. O’Keefe; (2)

        Exhibits 4-11 attached to Class Plaintiffs’ motion, (see 23-CV-8292, ECF Nos. 349-

        4 – 349-11); and (3) the 20 documents at issue with respect to OpenAI’s

        clawbacks by May 30, 2025.

     5) Because the parties represented at the May 27 conference that they intend to

        meet and confer on the issues raised in 23-CV-8292 ECF No. 354/355, Class

        Plaintiffs’ motion is DENIED as premature.

     6) Class Plaintiffs’ motion at 23-CV-8292 ECF 356/359 is DENIED, pending filing of

        the proposed consolidated class action complaint.

     7) Class Plaintiffs’ motion at 23-CV-8292 ECF 361/366 regarding Mr. Brockman’s

        deposition is DENIED without prejudice to renewal. The parties are directed to

        continue to meet and confer on this issue.

     8) Class Plaintiffs’ motion at 23-CV-8292 ECF 364/368 regarding OpenAI’s assertion

        of privilege with respect to the deletion of Books1 and Books2 datasets is

        DENIED as premature in light of OpenAI’s representations on the record. The

        parties are directed to meet and confer to determine the scope of information

        regarding Books1 and Books2 that can be produced to Class Plaintiffs. Class

        Plaintiffs may also conduct another 30(b)(6) deposition and are directed to serve

        a new 30(b)(6) notice on OpenAI regarding the deletion of Books1 and Books2



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                   and the reasons for those deletions. Class Plaintiffs are directed to serve this

                   30(b)(6) notice by May 30, 2025.

              9) Class Plaintiffs’ motion at 23-CV-8292 ECF 365/377 regarding the LibGen training

                   data provided by Microsoft to OpenAI (RFP 41) is GRANTED in part. The parties

                   are directed to meet and confer on this issue and determine by May 30, 2025,

                   whether it is OpenAI or Microsoft that has possession, custody, or control of the

                   information, and thus should produce the information contemplated by RFP 41

                   and Class Plaintiffs’ motion.

              10) The parties are directed to meet and confer by June 13, 2025, on Class Plaintiffs’

                   Rule 72 objections to Judge Illman’s rulings in the N.D. Cal cases, and specifically

                   consider whether those objections may be moot, resolved, or withdrawn in light

                   of this Court’s guidance and discovery rulings. (See 23-CV-3223 (N.D. Cal.) ECF

                   Nos. 388, 389, 390, 391, 405, 406, 409, 410).

           III.    NEWS CASES4

         For the reasons discussed on the record:

              1) News Plaintiffs’ motion at 23-CV-11195 ECF 500 regarding Mr. Brockman’s

                   deposition is DENIED without prejudice to renewal. The parties are directed to

                   continue to meet and confer on this issue.




4
  The News Cases include the following actions: The New York Times Company v. Microsoft Corporation, et al., 23-
CV-11195; Daily News, L.P. et al. v. Microsoft Corporation, et al., 24-CV-3285; Raw Story Media, Inc., et al. v.
OpenAI, Inc., et al., 24-CV-1514; The Intercept media, Inc. v. OpenAI, Inc., et al., 24-CV-1515; The Center for
Investigative Reporting, Inc. v. OpenAI, Inc., et al., 24-CV-4872; and Ziff Davis, Inc., et al. v. OpenAI, Inc., et al., 25-
CV-4315.

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     2) OpenAI’s motion at 23-CV-11195 ECF 497/499 regarding proposed custodians

        David Rubin, Michael Greenspon, and Sam Dolnick as custodians for the New

        York Times is DENIED. Future motions to add document custodians, whether

        they be Rubin, Greenspon, and/or Dolnick or any others, must include specific

        allegations, documents, statements, or admissions that indicate that these

        custodians are likely to have non-duplicative, responsive documents that are not

        covered by other custodians’ documents. Reliance only on hit counts, the

        absence of documents produced by other custodians, and/or the job title of an

        individual, alone, is insufficient cause to add a new custodian. Future motions

        that do not follow this guidance may be subject to cost-shifting under Fed. R. Civ.

        P. 37(a)(5).

     3) News Plaintiffs’ motion at 24-CV-4872 ECF 250/251 regarding additional CIR ESI

        custodians is DENIED as premature. The parties are directed to meet and confer

        on CIR’s document production and to identify any gaps that may exist with

        production to date and ways to address any such gaps.

     4) News Plaintiffs’ motion at 23-CV-11195 ECF 396 regarding RFP 61 and

        documents concerning licensing negotiations is DENIED as moot given the

        parties’ representations at the May 27 conference that Microsoft would produce

        documents that encompass the compromise proposal suggested by News

        Plaintiffs. The parties are directed to continue to meet and confer on this issue.




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       The Clerk of Court is respectfully directed to close the following ECF Nos. in Case No. 23-

CV-8292: 344, 345, 346, 348, 349, 354, 356, 359, 366, 365, 368, 377.

       The Clerk of Court is respectfully directed to close the following ECF Nos. in Case No. 23-

CV-11195: 497, 499, 500.

       The Clerk of Court is respectfully directed to close the following ECF Nos. in Case No. 24-

CV-4872: 250, 251.

       The Clerk of Court is respectfully directed to close ECF 53 in Case No. 25-MD-3143.


       SO ORDERED.



                                                          s/ Ona T. Wang
Dated: May 29, 2025                                     Ona T. Wang
       New York, New York                               United States Magistrate Judge




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